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4514 ransom - ttorney in Charge James M. (Mac) Stewart - Attorney in Charge
Cole Ave. 18th Floor John A. Scully

Dallas, TX 75205
Alice Oliver-Parrott - Guardian Ad Litem

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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FoR THE NoRTHERN DISTRICT oF TE sil t '* "*
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By

JILL SCOTT AND STUART SCOTT,
INDIVIDUALLY AND AS NEXT FRIENDS
OF MADISON SCOTT,

 

Deputy

 

Plaintiffs,

vs. N().
BAYLOR UNIVERSITY MEDICAL
CENTER d/b/a THE KIMBERLY H.
C()URTWRIGHT & JOSEPH SUMMERS
INSTITUTE OF METABOLIC DISEASE

¢M@MCMQMC@QOM¢OOWDWOUO°M@W

Defendant.

 

NOTICE OF REMOVAL

 

TO THE HONORABLE JUDGE OF SAID COURT:

PLEASE TAKE NOTICE that Baylor University Medical Center, Defendant in the above
entitled and numbered cause, pursuant to 28 U.S.C. §§ l44l(b), l446(b), 1331 and 263 (a) hereby
removes to this Court the state court action described below.

I. INTRODUCTION

l. On June 7, 2002, Plaintiffs filed their Third Supplemental Petition in the above-
referenced case. The Third Supplernental Petition is the first pleading that raises a federal question.
Copies of Plaintiffs’ live pleadings and the entire state court file is being filed concurrently with the

Notice ofRernoval. 28 U.S.C. § l446(a). An Index to Documents is attached hereto as Exhibit “A.”

 

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2. This Notice of Removal is filed within thirty (30) days of receipt of service of said
supplemental petition. Accordingly, this removal is timely filed under 28 U.S.C. § 1446(b). This
action is removed pursuant to 28 U.S.C. § l44l(b) as an action over which this Court has original
jurisdiction under 28 U.S.C. §1331.

3. Venue is proper in this division and district for the reason that Plaintiff s Petition was
filed in Dallas County, TeXas, which is within the Dallas Division of the United States District
Court for the Northern District of Texas. 28 U.S.C. § l24(a)(2).

4. This is a medical malpractice suit filed in 2000 by Plaintiffs for negligence in
connection with a supplemental newborn screening pro gram. Despite the fact that this case has been
on file for two years, in the Third Supplemental Petition, Plaintiffs have alleged for the first time that
Defendant committed negligence by “failing to comply with CLIA” (the Clinical Laboratory
lmprovement Act), a federal statute codified at 28 U.S.C §263(a). See Petition at page 7, paragraph
8.04 (K). Because Plaintiffs now allege that Defendant violated a federal statute, this case now
arises under federal law and is removable to federal court.

5. Under 28 U.S.C. § 1441 (c), removal is permitted of entire cases where this Court has
original jurisdiction as to any claim against any defendant Accordingly, so long as one of Plaintiffs’
claims against this Defendant is subject to federal jurisdiction, this Court can take jurisdiction over
the entire case. Therefore, based on the claims asserted in Plaintiffs’ Third Supplemental Petition,
this action is removed on the following independent grounds:

(a) This is a civil action of which this Court has original jurisdiction pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 263a. One or all of Plaintiffs’ claims against this Defendant

 

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arises under and are within the scope of 28 U.S.C. § 263 a, the Clinical Laboratory lmprovement Act
(“CLIA”)

6. This suit is also removed under 28 U.S.C. § 1441(b), because one or all of Plaintiffs’
claims against this Defendant cannot be determined without reference to or interpretation of federal
law. Thus, the case turns on the construction of federal law and arises under federal law. Cily of
Chicago v. International College ofSurgeons, 118 S. Ct. 523, 529-30 (1997).

7. No previous application has been made for the relief prayed for in this Notice.

8. ln filing this Notice of Removal, Defendant does not waive and expressly reserves
all objections and defenses which it may have under Rule l2(b) of the Federal Rules of Civil
Procedure and any other rules applicable to this action.

9. Written notice of the filing of this Notice of Removal Will be given to Plaintiff and
a copy of this Notice will be forthwith filed with the clerk of the County Court at Law Number 5 in

Dallas County, Texas.

 

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Respectfully submitted,

COOPER & SCULLY, P.C.

draw

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ATTORNEYS F()R DEFENDANT BAYLOR
UNIVERSITY MEDICAL CENTER

 

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